DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                  Case 1:21-cr-00399-RDM              Document 159-1   Filed 08/08/23   Page 1 of 41




                     DEFENSE EXPERT REPORT
                               United States v. Roman Sterlingov
                                                      21-CR00399 (RDM)

                                                       Jonelle Still
                                       Director of Investigations and Intelligence
                                              Ciphertrace, by Mastercard




                                                      August 7, 2023
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                   Case 1:21-cr-00399-RDM                      Document 159-1                Filed 08/08/23            Page 2 of 41




            Background ............................................................................................................ 3
            Critical Factors that Impact and Contradict the Government’s Conclusions........... 3
            Executive Summary................................................................................................ 7
            A Brief History of CoinJoins and Mixers................................................................ 11
               CoinShuffle - 2014 ............................................................................................................ 13
               CoinShuffle++ - 2016......................................................................................................... 13
               TumbleBit - 2016 .............................................................................................................. 13
               ValueShuffle - 2017 .......................................................................................................... 13
               CoinJoinXT - 2018 ............................................................................................................. 14
               SNICKER - 2019 ................................................................................................................. 14
               Wormhole - 2020 ............................................................................................................. 14
               WabiSabi - 2020 ............................................................................................................... 15
               Non-Exclusive List of Wallets that Implement CoinJoins .................................................... 15
            CoinJoin Examples ............................................................................................... 16
               Example of a 3x4 Mt. Gox Coinjoin Transaction from 2015: ............................................... 16
               Example of a 2x4 CoinJoin Transaction from 2014: ............................................................ 17
            Payjoins ............................................................................................................... 18
            Things that Break Clustering Heuristics ................................................................ 18
               Why it Matters ................................................................................................................. 18
            Evaluation of Sarah Meiklejohn’s Papers: How to Peel a Million & A Fistful of
            Bitcoins ................................................................................................................ 18
            Evaluation of the Application of Heuristic 2 to Chainalysis’ Model ...................... 20
            Summary of Literature on False Discovery Rates ................................................. 20
            Difference Between a Wallet and a Cluster.......................................................... 23
            Best Practices in Address Attribution & Data Integrity: Collection, Storage and
            Access .................................................................................................................. 23
            Evaluation of Chainalysis Expert Reports ............................................................. 24
            Evaluation of Chainalysis Bitcoin Fog Attribution ................................................. 27
               Summary of Chainalysis bitcoin_fog_market_addrs_cospend.csv Data.............................. 27
               Ciphertrace Sentry API Pulls from Clusters ........................................................................ 30

                                                                              1
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                  Case 1:21-cr-00399-RDM                  Document 159-1             Filed 08/08/23          Page 3 of 41




            Comparison of Ciphertrace and Chainalysis Dark Market Attributions ................ 34
            Evaluation of the Scholl Report ............................................................................ 34
            What is Needed to Determine Control of Bitcoin Fog .......................................... 39
            Other Domain Name Registrations of Bitcoin Fog ................................................ 39
            Notes on Publicly Available Tools......................................................................... 39
            Conclusion ........................................................................................................... 39




                                                                       2
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                  Case 1:21-cr-00399-RDM              Document 159-1      Filed 08/08/23      Page 4 of 41




            Background
                     Roman Sterlingov’s defense counsel reached out to Ciphertrace in July 2023 and
                     requested case support regarding cryptocurrency portions in U.S. v. Sterlingov.
                     Ciphertrace accepted the case pro bono. Ciphertrace understands that a majority if not
                     all of Mr. Sterlingov’s accounts have been frozen and he does not therefore have access
                     to them. Ciphertrace understands that the Government has presented Chainalysis data
                     for the on-chain cryptocurrency portion of this investigation and unless otherwise
                     noted, I have used this data to interrogate the Government’s claims. Ciphertrace
                     understands that the Government utilized at least two proprietary (commercial) tools to
                     trace cryptocurrency, one from Chainalysis and one from TRM, however, Ciphertrace
                     does not have access to these tools as it is not a customer of either company.
                     My opinions are based upon my analysis of Chainalysis data, Expert Reports and
                     Declarations, and the exchange production provided in the Discovery unless otherwise
                     noted. I, Jonelle Still, reserve the right to amend my opinion as I go through the current
                     evidence in this case and as I am presented with new evidence. Given the large volume
                     of data and the large volume of undisclosed information by the Government and
                     Chainalysis, this analysis is ongoing and this expert report will be supplemented as
                     necessary.


            Critical Factors that Impact and Contradict the Government’s
            Conclusions
                     For the reasons discussed below, Chainalysis’ attributions are unverifiable and should
                     not be used in a Court of law. These data have never been verified externally nor
                     independently, have not been audited, utilize novel algorithms, are based upon
                     experimental research, and, as expert witness Elizabeth Bisbee, from Chainalysis,
                     testified at the Daubert Hearings, there are no known error rates, false positive rates,
                     false negative rates, or any scientifically peer-reviewed inquiry validating the accuracy of
                     Chainalysis’ data application of its models. Therefore, I cannot verify the vast majority of
                     Chainalysis’ attribution as presented by the Government.
                     Three primary factors which limited this expert report are as follows: the integrity of
                     Chainalysis’ data, access to the pertinent data, and time.
                     Because of the lack of Chainalysis’ data integrity, arising from the absence of any
                     statistical analysis, model validation or external audits, to effectively review the scope of
                     Chainalysis’ work here necessitates the review over six million cryptocurrency addresses
                     and over 20 million cryptocurrency transactions. This is on top of the multiple expert
                     reports from the Government and Chainalysis, and their declarations. At essence, the
                     lack of Chainalysis’ data integrity, the lack of any scientific validity, the lack of any
                     statistical analysis as to error rates, and the lack of model validation, all unnecessarily
                     increase the scope of work needed to thoroughly interrogate the data to root out all of
                     the errors. This work should have already been done by the FBI and Chainalysis but it
                     was not. Because of this failure, it is impossible to rule out other suspects as operators

                                                               3
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                  Case 1:21-cr-00399-RDM              Document 159-1      Filed 08/08/23      Page 5 of 41




                     and administrators of Bitcoin Fog. A primary component of the Government
                     investigation is its singular focus on Mr. Sterlingov while ignoring almost all other Bitcoin
                     Fog transactions.
                     The Government’s investigation is massively incomplete. The singularity of their focus
                     on making attributions to Mr. Sterlingov ignores an entire universe of transactions that
                     the Government fails to discuss in their expert reports.
                     For a case this size Ciphertrace will typically spend a minimum of four months utilizing a
                     team of at least three analysts. My review of Chainalysis’ analysis is limited by the fact
                     that Chainalysis has not done the proper validation, authentication, or auditing on their
                     data and models necessary for the Government to justify their conclusions. However,
                     what can be analyzed reveals errors, omissions, and a lack of methodological rigor
                     calling the Government’s conclusions into serious doubt.
                     The Government’s discovery does not contain the Bitcoin Fog ledger, nor does
                     Ciphertrace have access to it to determine all cryptocurrency addresses, transactions,
                     dates and amounts used in the lifespan of the privacy service. It is my understanding
                     that the Government does not have possession of the Bitcoin Fog servers and has not
                     yet found this ledger nor the server(s) on which it was stored, nor the private keys;
                     therefore, the Government cannot verify its conclusions. This makes any analysis on
                     Bitcoin Fog’s inner workings and its owners speculative.
                     The Government provided no access to Roman Sterlingov’s seized wallets, only screen
                     shots. These screenshots require manually entering the data from the screen shots line
                     by line, a time consuming and tedious process. Moreover, the production of screenshots
                     is not a forensically appropriate method of presenting evidence to the Defense for
                     analysis. I cannot confirm there are no errors in the screen shots of the government’s
                     rebuilding of Mr. Sterlingov’s wallets. The naming conventions are such that it appears
                     the investigators were unsure how to properly name each wallet. Due to the number of
                     errors identified in the Government’s experts’ reports, I am concerned there are errors
                     in the imported data. The only way to confirm this is to have access to the wallets seed
                     phrase (private key) or rebuild it in “watch only” mode via a Master Extended Public key
                     which would allow me to rebuild the wallet and confirm all addresses, amounts,
                     dates/times, and transactions. This extended public key does not allow me to change or
                     modify the wallets or transactions, nor does it allow me to spend any bitcoin. The
                     Defense requested this from the Government, the Government stated that they were
                     unable to provide the master extended public key. They further stated that they would
                     provide a list of addresses, unfortunately a list of addresses is not the complete record
                     necessary for verifying the wallets and their addresses, amounts, dates/times, and
                     transactions.
                     The Government has provided no source for Chainalysis’ attribution for Bitcoin Fog or all
                     dark markets mentioned in the Government’s Expert Reports. The Defense requested
                     this information but has not received it. The Government responded by asking for the
                     relevancy and discoverability of this data. The requested data speaks directly to the
                     integrity of Chainalysis’ data and audit trail. The Department of Justice maintains a

                                                               4
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                  Case 1:21-cr-00399-RDM               Document 159-1            Filed 08/08/23         Page 6 of 41




                     number of internal policies and guidance regarding information dissemination and data
                     integrity.1 The Department of Justice’s own guidelines discuss the importance of data
                     integrity:
                                      Investigations and prosecutions based in whole or in part
                                      upon forensic science must be based upon sound science -
                                      from the crime scene to the courtroom to post-conviction
                                      reviews, and each step along the way.2
                     The Defense requested access to Chainalysis Reactor. The Government stated that they
                     could not provide the Defense with access to Chainalysis Reactor. I am therefore unable
                     to rebuild the cryptocurrency traces exactly as presented in the Expert Reports;
                     meaning I cannot use the same proprietary tools the Government used during the
                     course of its cryptocurrency investigation.
                     I also had no access to TRM attribution data and source, date, or the time of collection
                     for Bitcoin Fog as it was identified in FBI Analyst Luke Scholl’s Expert Report (“Scholl
                     Report"). It is my understanding that the Defense has requested this data, and that the
                     Government responded that they did not have it.
                     In a letter dated July 26, 2023, the Defense requested from the Government a summary
                     of Chainalysis’ and TRM’s data integrity as follows:
                                      7. We further request all of Chainalysis' Bitcoin Fog
                                      attributions; the source and date of all collections of data
                                      related to the attributions on a per address basis; the
                                      number of clustering errors and how they were resolved
                                      and the date/timestamp when those errors and
                                      resolutions occurred on a per address basis; the type and
                                      quality of each Bitcoin Fog address attribution as they
                                      relate to the heuristics described in the Bisbee report on a
                                      per address basis, specifying whether they were direct, via
                                      clustering, change addresses, or through some other
                                      heuristic. Included in this request is a breakdown of each
                                      cluster which should contain: Cluster identifier, Number of
                                      addresses in cluster, for each address in a cluster whether
                                      it identified by heuristic 1, 2, or 3 as described in the
                                      Bisbee report, Source Date/Timestamp of data collected,
                                      number of clustering errors over time with each identified
                                      cluster….



                     1
                       See e.g. https://www.justice.gov/information-quality; https://www.whitehouse.gov/wp-
                     content/uploads/2022/01/01-22-Protecting_the_Integrity_of_Government_Science.pdf;
                     https://www.justice.gov/sites/default/files/open/legacy/2013/07/29/doj-scientific-integrity-policy.pdf.
                     2
                       See U.S. Department of Justice Scientific and Research Integrity Policy, (available at
                     https://www.justice.gov/sites/default/files/open/legacy/2013/07/29/doj-scientific-integrity-policy.pdf).

                                                                     5
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                  Case 1:21-cr-00399-RDM               Document 159-1            Filed 08/08/23         Page 7 of 41




                                      17. We requested information on Mr. Scholl's alleged
                                      confirmation of his tracing using TRM's blockchain tracing
                                      software. You stated that you had nothing to provide on
                                      this front as Mr. Scholl merely used the TRM software and
                                      it generated no records.
                     The Government told the Defense that there was nothing to provide in relation to Mr.
                     Scholl’s use of the TRM software because it generated no records. However, if Mr.
                     Scholl utilized TRM’s Application Programming Interface3 (“API”), the API generates log
                     data and TRM would have a record of those API calls.
                     The Government has failed to provide the necessary data to evaluate their attributions.
                     In order to verify the Government’s attributions, it is necessary to assess every
                     attribution point. This means assessing all the records and cryptocurrency addresses
                     referenced in the Government’s expert reports, and their attribution data which was
                     largely obtained via Chainalysis; the source and date of all collections of data related to
                     the attributions on a per address basis; the number of clustering errors and how they
                     were resolved and the date/timestamp when those errors and resolutions occurred on a
                     per address basis; the type and quality of all address attributions as they relate to the
                     heuristics described in the Government’s expert reports on a per address basis which
                     may differ depending on which heuristics were used; knowing whether they were direct
                     attribution, via clustering, change addresses, or through some other heuristic. Neither
                     the Government nor Chainalysis have provided this information. Nor is it apparent from
                     the Government’s expert reports, and expert testimony at the Daubert hearings, that
                     they have done this review.
                     In order to verify the Government’s attribution properly I need a breakdown of each
                     cluster on a per address basis which should contain: cluster identifier; number of
                     cryptocurrency addresses in each cluster; whether, for each address in a cluster, it was
                     identified by heuristic 1, 2, or 3 as described in the Government’s expert reports; the
                     source date/timestamp of data collected; the number of clustering errors over time
                     within each identified cluster (date/timestamp added). Basically, I need an audit trail of
                     every single cryptocurrency address from the time it was collected to the present. This is
                     a basic requirement necessary to validate any data.
                     Attributions can change over time, just like heuristics. Ms. Bisbee, in her expert report
                     and declaration, claims that Chainalysis Reactor software is deterministic. However,
                     cluster errors can arise when an address has more than one attribution. For instance, an
                     address can have two owners, like in a “nested exchange,” such as Chatex or Suex,
                     where the service operates inside of the exchange. The wallets offered by nested
                     services operate in such a way that ownership may be attributed to the exchange, the
                     service, or the user. Furthermore, exchanges, like Coinbase, Binance, Kraken and Mt.
                     Gox, maintain such a massive amount of liquidity that entire services operate inside of

                     3
                      An Application Programming Interface is a set of defined rules that enable different applications to
                     communicate with each other. API allows users to pull large amounts of data and automate processes
                     without going through the front-end of user interfaces.

                                                                    6
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                  Case 1:21-cr-00399-RDM              Document 159-1     Filed 08/08/23      Page 8 of 41




                     them. The concepts of ownership and control are plastic in the sense that they are
                     subject to the vagaries of how they are defined. There is intense debate in the
                     Cryptocurrency Anti-Money Laundering (“AML”) community about the definition of
                     these core concepts. Mr. Scholl references this debate when he discusses the very
                     definitions he uses in his report.
                     The issue is critically relevant when it comes to the Mt. Gox data. Before Mt Gox
                     collapsed, Mt. Gox keys were hacked, stolen and sold. This makes attributions related to
                     Mt. Gox data challenging because it’s difficult, if not impossible, to make accurate
                     ownership attributions. Additionally, the exchange Kraken stepped in to support Mt.
                     Gox following Mt. Gox’s collapse and is rumored to hold some of the keys. During its
                     operation, Mt. Gox also allowed users to import their own private keys which created a
                     massive issue in determining correct clustering and ownership. Deterministic algorithms
                     are problematic in that they’ll always attribute those keys to Mt. Gox, even though they
                     are no longer under Mt. Gox’s control.
                     In Ms. Bisbee’s report she stated that the Bitcoin Fog address types changed over time.
                     She also stated that Chainalysis’ software is deterministic, and that Chainalysis uses
                     Heuristic 2 (behavioral) which includes cryptocurrency address types, and the raw data
                     associated with those addresses. This raises serious questions regarding the claim that
                     Chainalysis Reactor is deterministic. In order for Chainalysis Reactor to be deterministic,
                     the outputs should not change. But if that’s true, then there is a serious problem with
                     Chainalysis’ attribution process because services and users can change the address
                     types they use over time. Ownership can change over time as well, as demonstrated by
                     the Mt. Gox private keys being hacked, stolen and sold. This is a glaring inconsistency in
                     Ms. Bisbee’s expert report and is exactly why audit trails are necessary.


            Executive Summary
                     The Government’s claims that Roman Sterlingov operated/administered Bitcoin Fog
                     cannot be verified using on-chain data because:
                         •   High Number of Errors: Numerous factual errors and improper assumptions in
                             the Government’s Expert Reports.
                         •   Data Discrepancy: There exists discrepancy rates between Ciphertrace and
                             Chainalysis attribution data upwards of 60%. Ciphertrace utilizes Heuristic 1
                             (multi-input clustering) for attributions other than direct attribution. Ciphertrace
                             does not utilize Heuristic 2 (behavioral) because it is inaccurate, error-prone, and
                             over inclusive.
                         •   Data Standards for Court: The Chainalysis attribution data should not be used in
                             court for this case nor any other case: it has not been audited, the model has
                             not been validated, nor has the collection trail been identified.
                                 ▪ Upwards of 64% error rate for Heuristic 2;
                                 ▪ Over 527,000 Bitcoin Fog addresses clustered by Chainalysis using
                                     Heuristic 2;


                                                              7
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                  Case 1:21-cr-00399-RDM              Document 159-1           Filed 08/08/23        Page 9 of 41




                                 ▪   This means that the Government’s reliance on Chainalysis’ count of dark
                                     market interactions with Bitcoin Fog is likely misplaced and flawed.
                         •   Lack of Data Integrity: The Government relies on data for which there is no
                             independent model validation. There are no error rates cited for each
                             cryptocurrency address or clustering heuristic, as Ms. Bisbee testified at the
                             Daubert Hearings, and reiterated in her Declaration. Chainalysis did not / has not
                             collected the data. I estimate there are hundreds of millions of data points that
                             are unverified. Chainalysis does not appear to have verified any of their datasets
                             via independent audits, and only makes vague claims referencing unnamed data
                             scientists in regards to any internal validation.
                                 ▪ Other cases relying upon Chainalysis data may warrant re-examination in
                                     light of these revelations;
                                 ▪ Recently, a federal judge dismissed the testimony of a witness who relied
                                     upon data which had not been verified within a two-year timeframe as it
                                     violated DOJ guidelines.4
                         •   CoinJoins break heuristics: Privacy services are intentionally designed to break
                             clustering and other heuristics blockchain analytics companies rely upon for the
                             creation of their attribution database. This is a bugbear for companies like
                             Chainalysis whose customers rely on their data.
                         •   Lack of Blockchain Analytics Oversight: Currently, there does not exist a
                             standards body which oversees blockchain analytics companies, their models,
                             data collection or attribution. As an emerging field, definitions, practices, and
                             data collection are not standardized.
                         •   Chainalysis ‘fixes’ information and timeline for IRS: The discovery produced by
                             the Government contains a spreadsheet authored by IRS-CI Devon Beckett, last
                             updated on August 8, 2016. In it, he appears to refer to Chainalysis manipulating
                             the data in this case because it did not fit in to the Government’s preconceived
                             notions. The spreadsheet states:

                                              ? If BCF is truly not up an [sic] until this date, then
                                              timeline appears to fit well excluding the custom
                                              onion generation. Chainalysis seems to think there
                                              [sic] transactions before this date and should be
                                              releasing a "fix" which provide more accurate
                                              display of information/timeline

                                 ▪    I understand this to mean that the traces were not aligning in an
                                      advantageous way, so Chainalysis offered to adjust their algorithm or
                                      data manually to create a more favorable trace for the IRS.


                     4
                      See e.g. Jude tosses testimony on ‘unverified’ data from Penguin Random House executive, COURTHOUSE
                     NEWS SERVICE, Emily Zantow (Aug. 17, 2022) (available at: https://www.courthousenews.com/judge-tosses-
                     testimony-on-unverified-data-from-penguin-random-house-executive/).

                                                                   8
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM               Document 159-1           Filed 08/08/23         Page 10 of 41




                         •   IRS Consensus on Withdrawal Patterns: Mr. Sterlingov’s withdrawal pattern
                             from Bitcoin Fog is entirely consistent with user withdrawals; this is corroborated
                             by the Search Warrant Affidavit signed by IRS-CI Special Agent Leo Rovensky5
                             “These withdrawals occurred sporadically and in the same manner as a regular
                             user.”6 The affidavit goes on to make a leap of logic stating that the likely reason
                             Mr. Sterlingov’s withdrawals match other user withdrawals is that he was trying
                             to obfuscate his ownership. However, we know that Mr. Sterlingov deposited his
                             funds into exchanges that required him to upload a copy of his government ID
                             and take a selfie. The conclusion made by IRS-CI Special Agent Leo Rovensky that
                             Mr. Sterlingov is the administrator of Bitcoin Fog is unfounded and illogical.
                         •   IP Address is likely a VPN or Proxy Server: On page 18 of Mr. Rovensky’s
                             Warrant Affidavit, IP address 212.117.160.123 is identified as the address that
                             accesses Liberty Reserve and Mt Gox accounts.7 The Government uses this IP
                             address to attribute ownership and control of the Mt. Gox accounts #2 and #3 to
                             Mr. Sterlingov. However, this IP address appears to be a VPN, or a proxy server.
                             That is, any number of entities or persons from anywhere in the world could be
                             using this IP address at any one time. Ciphertrace collects IP addresses via our
                             own node operation and links them to bitcoin addresses. The large number of
                             bitcoin address clusters, cryptocurrency services, and exchanges that are linked
                             or traceable to this IP address identified in the Warrant strongly point to a VPN
                             or proxy server. Additionally, some of the bitcoin addresses linked to this IP
                             address are also linked to multiple IP addresses. Critically, none of the bitcoin
                             addresses linked to the 212.117.160.123 IP address are listed in the
                             Government’s findings. None of the bitcoin addresses linked to 212.117.160.123
                             IP address ever interacted with Bitcoin Fog. None of the bitcoin addresses linked
                             to 212.117.160.123 IP address were ever under Mr. Sterlingov’s control in his
                             Mycelium wallet.
                         •   Assumption Errors: No address attributed to Mr. Sterlingov in the Scholl Report
                             sent funds on Oct. 27, 2011, to Bitcoin Fog via Wallet 2, as Mr. Scholl stated in
                             his report.8 Mr. Scholl stated in his report that the deposit occurred prior to the
                             announcement of Bitcoin Fog on the Bitcoin Talk forum. However, this appears
                             to not be the case and warrants further examination. This is but one of the many
                             assumptions that are pervasive in the Scholl Report and this case.
                         •   The Tesla: Mr. Sterlingov’s purchases and behaviors do not match that of a
                             crypto bro who made millions. In Mr. Rovensky’s Warrant Affidavit, he claims
                             that a majority of cryptocurrency in Mr. Sterlingov’s accounts are back traceable
                             to Bitcoin Fog and alleges that Mr. Sterlingov used funds coming from the
                             privacy service to buy gift cards, goods and services, and other cryptocurrencies.9


                     5
                       Search Warrant Application by IRS-CI Leo Rovensky, Dkt. 22-SC-2023 (Aug. 9, 2022).
                     6
                       Id. at 20.
                     7
                       Id. at 18.
                     8
                       See TxID 6586649970D8FE8A8DB1DACF17665AE6BADE88E090FA73904EFB05F49DCC379A.
                     9
                       Search Warrant Application by IRS-CI Leo Rovensky, Dkt. 22-SC-2023, p. 21 (Aug. 9, 2022).

                                                                    9
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM                Document 159-1            Filed 08/08/23        Page 11 of 41




                              However, the Superseding Indictment does not include a wire fraud charge.
                              Therefore, the fiat sources were not determined to be illicit. A Tesla purchase is
                              not unheard of, but is out of the ordinary for a person who allegedly made
                              millions in cryptocurrency. The phrase, “wen lambo,” describes the crypto
                              investor’s goal of purchasing a Lamborghini as a sign of wealth and status.10
                              There are countless examples of crypto investors and traders using their gains to
                              purchase ‘lambos,’ and these cars make appearances at cryptocurrency-centric
                              events like Bitcoin Miami and ETH Denver.




                                               An example of crypto-bro meme culture


                          •   The Government Ignored Other Leads: Other withdrawal patterns for unknown
                              addresses may better align with administrator payouts (size, frequency,
                              amounts). The IRS sent subpoenas to Binance, and requested they not alert the
                              account holders. At least 3 account holders were identified who withdrew from
                              Bitcoin Fog. However, the Government generally ignores the universe of Bitcoin
                              Fog withdrawals and almost exclusively focuses on Mr. Sterlingov. There are
                              millions of Bitcoin Fog transactions.
                          •   There are no wire fraud charges: In cryptocurrency cases, a wire fraud charge is
                              typically included as the cryptocurrency (purportedly from an illicit source) is
                              swapped for fiat currency and used to purchase luxury goods, services and in
                              some cases, gold.11
                          •   Other Privacy Services: Mr. Sterlingov’s use of other privacy services like Wasabi
                              CoinJoin, Bitmixer, and Mt Gox CoinJoins demonstrate he was a user of privacy
                              services, not that he controlled them.


                     10
                        See When Lambo? How Lamborghini became the status brand of the crypto boom, DIGIDAY, Shareen
                     Pathak (May 24, 2018) (available at: https://digiday.com/marketing/lambo-lamborghini-became-status-
                     brand-crypto-boom/).
                     11
                        See Buried gold, burning trash: US couple admits to hiding hacked crypto, REUTERS, Luc Cohen (Aug. 3,
                     2023).

                                                                    10
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM                   Document 159-1             Filed 08/08/23         Page 12 of 41




                            •   Questions of Bitcoin Fog Ownership: The privacy service Bitcoin Fog utilized
                                multiple different deposit and withdrawal patterns in its lifetime. This suggests
                                that the service may have had multiple owners or changed hands.
                            •   Not a true mixer?: Analysis shows that it is possible Bitcoin Fog was utilizing
                                user deposits for withdrawals. This could explain why users could withdraw
                                funds after a month or two, and not regularly. Mr. Sterlingov typically made
                                several withdrawals on the same day once a month or once every other month
                                into his Mycelium wallet. This pattern matches other user withdrawals as
                                investigated by the IRS, and complaints made on the Bitcoin Talk forum that
                                Bitcoin Fog was a scam.
                            •   Advertising for Privacy is not Illegal: Bitcoin Fog advertised itself as a privacy
                                service. Other mixers and privacy services have sometimes advertised
                                themselves on the Clearnet and websites accessible via TOR that they will help
                                hide illicit proceeds. Bitcoin Fog did not.
                            •   Questioning the Narrative: If Mr. Sterlingov was running a mixer and taking
                                payouts, why was he buying bitcoin at Local Bitcoins and other exchanges?
                            •   Differences in Graphical Tracing Tools Leads to Errors: Chainalysis Reactor
                                employs single-entity clustering; that means that for each transaction on a
                                graph, the entire entity will appear to spend funds in that interaction, even if
                                only one address is assigned to that entity transacted. A root address is assigned
                                to the entity which may or may not be the correct address that transacted.12 This
                                single entity clustering leads to many tracing errors.
                            •   Ciphertrace Inspector employs separated clusters: This means that our clusters
                                are truest to the activity that occurred on chain. Our graphs show the true
                                addresses that participated in a transaction, individually. Law enforcement and
                                other customers of Chainalysis have approached Ciphertrace on this topic and
                                have expressed frustration related to the errors they experience using
                                Chainalysis Reactor. The Scholl Report exhibits these types of errors.13


            A Brief History of CoinJoins and Mixers
                     It is often said that exchanges make the best mixers. This is due to the shared practices
                     between the two. Exchanges accomplish what is termed ‘off-chain’ transactions, which
                     means that cryptocurrency and values of cryptocurrency are moved around without
                     being sent to the mempool (pool of transactions waiting to be validated and added to
                     the next block) and validated. When a retail customer logs into their exchange account,
                     they will see a deposit address and amount of cryptocurrency associated with that
                     address or account. However, that number is essentially an IOU. Exchanges may use
                     user withdrawals for other purposes such as withdrawal requests and trading. In the
                     infamous case of exchange FTX, it is alleged that Sam Bankman-Fried used user deposits
                     to trade at his institutional trading firm Alameda Research.

                     12
                          See Data Credibility in Cryptocurrency Investigations, CIPHERTRACE (2021) (attached as Ex. A).
                     13
                          See e.g. Scholl Report at 22-23, 46.

                                                                        11
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM               Document 159-1           Filed 08/08/23        Page 13 of 41




                     CoinJoins and mixers have a long history in Bitcoin. In Section 10 Privacy of his Satoshi
                     Nakamoto’s Bitcoin whitepaper that invents Bitcoin and the blockchain, Mr. Nakamoto
                     states:
                             The traditional banking model achieves a level of privacy by
                             limiting access to information to the parties involved and the
                             trusted third party. The necessity to announce all transactions
                             publicly precludes this method, but privacy can still be maintained
                             by breaking the flow of information in another place: by keeping
                             public keys anonymous. The public can see that someone is
                             sending an amount to someone else, but without information
                             linking the transaction to anyone. This is similar to the level of
                             information released by stock exchanges, where the time and size
                             of individual trades, the "tape", is made public, but without telling
                             who the parties were. As an additional firewall, a new key pair
                             should be used for each transaction to keep them from being
                             linked to a common owner. Some linking is still unavoidable with
                             multi-input transactions, which necessarily reveal that their inputs
                             were owned by the same owner. The risk is that if the owner of a
                             key is revealed, linking could reveal other transactions that
                             belonged to the same owner.14
                     Early adopters of Bitcoin understood the value of privacy and adapted their on-chain
                     transactions to preserve their privacy as outlined by Satoshi, to break the potential
                     linking accomplished via multi-input transactions. 15
                     The first main discussions around CoinJoin techniques were from Gregory Maxwell in
                     2013 iterating off of David Chaum’s approach to privacy from the 1980s and 1990s.16
                     CoinJoin operations were taking place already on the blockchain prior to Mr. Maxwell’s
                     2013 post. Mr. Maxwell posted to the Bitcoin Dev Forum in August 2013 regarding:
                                      [A] transaction style Bitcoin users can use to dramatically
                                      improve their privacy which I’ve been calling CoinJoin. It
                                      involves no changes to the Bitcoin protocol and has
                                      already seen some very limited use spanning back a couple
                                      of years now but it seems to not be widely understood.17
                     CoinJoin transactions started circulating more and more through forums as people
                     noted that inputs of a CoinJoin-based Bitcoin transactions should be separately signed

                     14
                        See Bitcoin: A Peer-to-Peer Electronic Cash System, Satoshi Nakamoto (2008) (attached as Ex. B).
                     15
                        Bitcoin Q + A, BITCOIN.GUIDE, Gregory Maxwell (2013) (available at
                     https://bitcoiner.guide/qna/CoinJoin/#:~:text=CoinJoin%20(sometimes%20called%20mixing)%20is,belong
                     %20to%20the%20same%20entity).
                     16
                        Untraceable Electronic Mail, Return Addresses, and Digital Pseudonyms, TECHNICAL NOTE PROGRAMMING 21
                     TECHNIQUES AND DATA STRUCTURES 2, David L. Chaum (Feb. 1981) (available at:
                     https://dl.acm.org/doi/pdf/10.1145/358549.358563).
                     17
                        See https://bitcointalk.org/index.php?topic=279249.0.

                                                                  12
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1     Filed 08/08/23      Page 14 of 41




                     with associated signatures, thus the users could jointly create one transaction with their
                     inputs. In that manner, they would break the “common ownership” heuristic (Heuristic
                     1), and they can hide the relation of inputs to outputs. Outside of just CoinJoin itself,
                     there were protocols that built off of it such as CoinShuffle, CoinShuffle++, ValueShuffle,
                     CoinJoinXT, and others.

            CoinShuffle - 2014
                  CoinShuffle focused on a small communication overhead via the Dissent protocol. This
                  protocol allows every participant to generate a fresh ephemeral encryption/decryption
                  key pair and broadcast the public encryption key to the network. Note that this is not via
                  the Bitcoin network. Every participant then generates a fresh Bitcoin address,
                  designates their output address in the mixing transaction and then becomes part of the
                  shuffling. The shuffling is the movement of these freshly generated output addresses in
                  an oblivious manner. Each shuffling becomes another shuffle by the next participant.
                  Each participant can individually verify that their output address is in the list of outputs.
                  If so, the participant signs the transaction with their signing key and broadcasts the
                  signature. Upon receiving the signatures from all participants, the transaction can be
                  fully-signed and broadcast to the Bitcoin network.

            CoinShuffle++ - 2016
                  CoinShuffle++ builds off of CoinShuffle, however it is only utilized via Decred CoinJoin
                  transactions. The process is to obfuscate ownership of DCR (Decred) coins, where the
                  output addresses are anonymized via some type of mixnet. The mixnet used for this is
                  DiceMix. DiceMix claims to allow pseudonymous users to issue transactions which
                  would be unlinkable and fully compatible with various blockchain-based systems.
                  Through the use of an additional mixnet, CoinShuffle++ can make the outputs
                  indistinguishable by allowing each output “mix” to have a fixed denomination. This is
                  similar to future protocols such as CoinMixer.

            TumbleBit - 2016
                 TumbleBit allows parties to make fast, anonymous, off-chain payments through an
                 untrusted service known as a “tumbler”. This “tumbler” follows the principles set out by
                 David Chaum’s eCash principles while allowing the payments and mixing to be done
                 offline through TumbleBit itself.

            ValueShuffle - 2017
                  ValueShuffle builds off of the predecessors in CoinJoin technology, however this time
                  the developers focus on hiding the funds. This would be one of the first instances of
                  trying to build out privacy enhancements to Bitcoin itself. The way of hiding transaction
                  amounts was created much earlier than CoinJoin transactions and is known as
                  Confidential Transactions. Confidential Transactions (CT) is a cryptographic principle


                                                             13
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM               Document 159-1            Filed 08/08/23         Page 15 of 41




                     which allows one to make the value amounts in a given transaction be hidden, i.e.
                     encrypted by one which makes it possible for the parties participating in the transaction
                     to view the amounts. As this builds off of CoinShuffle++, the use of DiceMix will be
                     utilized. Outside of the ValueShuffle whitepaper, there is not a lot of credible
                     information on whether this was actually used. As it integrates CT, this would require a
                     full consensus upgrade to Bitcoin which did not happen.

            CoinJoin XT - 2018
                  CoinJoinXT was presented by Adam Gibson in 2018 which focused on both improving
                  the privacy of Bitcoin, while also focusing on breaking transactional graph analysis. At
                  the time of the presentation, Mr. Gibson focused on how SegWit enables pre-signing of
                  not just individuals but chains of transactions.18 Thus, he aims to create co-agreed upon
                  contractual agreements within the Bitcoin scripts to require transferring ownership of
                  coins into a shared controlled area - i.e. the CoinJoinXT interface itself. It then allows a
                  refund policy which can occur through multiple steps. A lot of the work around this was
                  considered PoC (Proof-of-Concept), however over time one can see how it correlates to
                  JoinMarket.

            SNICKER - 2019
                 Adam Gibson proposed another alternative to CoinJoins building off of his previous
                 work in 2019 entitled “SNICKER.” SNICKER stands for Simple Non-Interactive CoinJoin
                 with Keys for Encryption Reused. It’s a method for allowing various wallets to create
                 CoinJoin transactions non-interactively through a multi-step process. The first step
                 would be that User A determines a UTXO for which they know the owner’s public key.
                 User A selected those UTXO’s whose value is less than the amount controlled by their
                 wallet and creates a proposed CoinJoin between that UTXO and their own wallet’s
                 UTXO. This transaction creates three outputs: CoinJoin Output for User A, CoinJoin
                 output of the owner of the selected UTXO (User B), and the change output to User A.
                 From this, User A then creates a shared secret via ECDH (Elliptic Curve Diffie-Hellman)
                 and allows User B to derive User A’s public key. The full proposal is available on
                 GitHub.19

            Wormhole - 2020
                Wormhole was proposed in 2020 by Max Hillebrand on the Bitcoin-Dev mailing list.20
                Wormhole was initially proposed by the Wasabi Wallet team, yet Mr. Hillebrand took
                the proposal and built upon it and requested feedback. The protocol sends payments as

                     18
                        AdamISZ GitHub Repositroy (available at:
                     https://gist.github.com/AdamISZ/a5b3fcdd8de4575dbb8e5fba8a9bd88c).
                     19
                        AdamISZ GitHub Repository, SNICKER_BIP_draft.mediawiki (available at:
                     https://gist.github.com/AdamISZ/2c13fb5819bd469ca318156e2cf25d79).
                     20
                        Wormhole: Sending and receiving bitcoin anonymously, LINUX FOUNDATION , Max Hillebrand (Jan. 15,
                     2020) (available at: https://lists.linuxfoundation.org/pipermail/bitcoin-dev/2020-January/017585.html).

                                                                   14
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM                   Document 159-1           Filed 08/08/23         Page 16 of 41




                     part of a Chaumian CoinJoin but also prevents the spender from learning of the received
                     Bitcoin address. Similar to TumbleBit, it provides a trustless payment service that issues
                     multiple rounds of communication.

            WabiSabi - 2020
                 Yuval Kogman posted to the Bitcoin-Dev mailing list research into CoinJoins about a new
                 protocol called WabiSabi.21 The protocol extends the existing Wasabi Wallet protocol
                 with an adapted technique of Confidential Transactions (CT) that was mentioned above.
                 Through this the client can create a commitment to arbitrary outputs and amounts,
                 without ever revealing the amounts, and is still able to prove that each amount is
                 individually within a specified range, thus collectively summing the outputs to a
                 specified value. The protocol is very different than the existing Wasabi Wallet
                 implementation as of 2020 and replaces Blind Signatures with keyed-verification
                 anonymous credentials.

            Non-Exclusive List of Wallets that Implemen t CoinJoin s
              ● Wasabi Wallet;
              ● Samourai Wallet;
              ● Sparrow Wallet;
              ● JoinMarket.
              ● And more




                     21
                          WabiSabi: a building block for coordinated CoinJoins, LINUX FOUNDATION , Yuval Kogman (Jan. 11, 2020).

                                                                       15
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1      Filed 08/08/23      Page 17 of 41




            CoinJoin Examples

                     Example of a 3x4 Mt. Gox Coinjoin Transaction from 2015: 22




                     *Note that the attribution states “Mt Gox and Coin Joins”. Mt Gox, in addition to
                     operating an exchange, also offered CoinJoin services.




                     22
                       See e.g. 3x4 CoinJoin transaction from 2015 (available at:
                     https://btc.bitaps.com/92a78def188053081187b847b267f0bfabf28368e9a7a642780ce46a78f551ba).

                                                              16
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1     Filed 08/08/23      Page 18 of 41




                     Example of a 2x4 CoinJoin Transaction from 2014: 23




                     23
                       See e.g. 2x4 CoinJoin transaction from 2014 (available at:
                     https://bitaps.com/c38aac9910f327700e0f199972eed8ea7c6b1920e965f9cb48a92973e7325046).

                                                             17
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM                Document 159-1            Filed 08/08/23        Page 19 of 41




            Payjoins
                     Payjoins or Pay to End Point (P2EP) are a special type of CoinJoin in which one
                     participant pays another and the transaction is indistinguishable from a regular bitcoin
                     transaction. The amount paid from one participant to the other cannot be determined.
                     These Payjoins may be accomplished with or without special software.
                     CoinJoins provide users with a level of entropy, or privacy, for example via Chaumian
                     blinding or Schnorr signatures.24 Mixers can be custodial (Blender.io) or non-custodial
                     (Tornado.Cash) – both services are sanctioned by OFAC.25 It is important to note here
                     that Bitcoin Fog is not, and has never been, sanctioned.


            Things that Break Clustering Heuristics
                          •   Mixers
                          •   CoinJoins
                          •   Payjoins
                          •   WabiSabi
                          •   Layer 2 solutions (L2) – Omni Layer, Counterparty, Lightning Network
                          •   Cross-chain atomic swaps
                          •   Built-in privacy in wallet software such as Samourai Wallet,Electrum, Blue
                              Wallet, JoinMarket, Sparrow, Wasabi Wallet etc.26

            Why it Matters
                  CoinJoins break Heuristic 1, which all blockchain tracing companies use to try to
                  deanonymize cryptocurrency transactions on a blockchain.


            Evaluation of Sarah Meiklejohn’s Papers: How to Peel a Million & A
            Fistful of Bitcoins
                     Some of the key assumptions and limitations in Sarah Meiklejohn’s, et al. research
                     papers include:
                 •   Chainalysis provided Sarah Meiklejohn with data related to this case. In How to Peel a
                     Million Sarah Meiklejohn, et al. lays out a chapter in which she attempts to validate
                     Chainalysis‘ findings using a pair of proposed algorithmic tracing models. The two new
                     models produced contradictory results.
                 •   How to Peel a Million assumes the validity of the data provided to them by Chainalysis.
                     No effort was made by Sarah Meiklejohn, et al. to independently verify the dataset. We

                     24
                        See e.g. Schnorr Identification and Signatures, STANFORD UNIVERSITY, David Mandell Freeman (Oct. 29,
                     2011) (available at: https://web.stanford.edu/class/cs259c/lectures/schnorr.pdf).
                     25
                       See U.S. Treasury Issues Forst-Ever Sanctions on a Virtual Currency Mixer, Targets DPRK Cyber Threats,
                     U.S. DEP’T OF THE TREASURY (May 6, 2022) (available at: https://home.treasury.gov/news/press-
                     releases/jy0768).
                     26
                       See e.g. Samourai Wallet (available at: https://samouraiwallet.com/features).

                                                                    18
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM                Document 159-1            Filed 08/08/23         Page 20 of 41




                     cannot verify the dataset, and we know that Chainalysis has not performed any
                     independent audits on their data collection process. Therefore, we cannot reproduce
                     the work.
                 •   The dataset was hand curated by Chainalysis. This suggests a concern that the dataset
                     was inaccurate.
                 •   Without any independent verification of the accuracy of the provided dataset, there is
                     no way to assess the accuracy of the conclusions drawn from that dataset.
                 •   In 2011, Bitcoin addresses all had the same features.
                 •   All the transactions discussed in Section 7.3.1 (Bitcoin Fog) of How to Peel a Million had
                     the same address features. This is why the algorithms used in the paper produced
                     contradictory results.
                 •   How to Peel a Million acknowledges that the models used are ineffective for peel-chains
                     with the same address types.
                 •   As How to Peel a Million states:
                             We then followed the funds from the Mt. Gox withdrawal
                             forwards, using FOLLOWFWD, to see if we would reach the deposit
                             to Bitcoin Fog. Both FINDNEXT and FINDNEXT2 failed after only one
                             hop, however, as the two outputs in TX2 had the same address
                             features and were spent in transactions with the same features.
                             Our algorithms were thus unable to isolate the change output.
                             These outputs were both furthermore fresh, meaning it was their
                             ﬁrst appearance in the blockchain, so the other change heuristics
                             described in Section7.2 also would have been unable to follow the
                             transaction forwards.27
                 •   In A fistful of Bitcoins, Ms. Meiklejohn’s previous research into peel chain
                     attribution via algorithms computed a False Discovery Rate (“FDR”) of
                     51.64%.28
                 •   The research demonstrates that for 80% new attribution there will be a
                     50% FDR. This is not a reliable model.




                                                                                 29



                     27
                        S. Meiklejohn et al., How to Peel a Million: Validating and Expanding Bitcoin Clusters, Sec. 7.3.1 (May
                     2022).
                     28
                        S. Meiklejohn, M. Pomarole, G. Jordan, K. Levchenko, D. McCoy, G. M. Voelker, and S. Savage. A ﬁstful
                     of bitcoins: Characterizing payments among men with no names, PROCEEDINGS OF THE INTERNET MEASUREMENT
                     CONFERENCE - IMC ’13, number 6, pages 127–140, 2013.
                     29
                        See Id.

                                                                    19
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1       Filed 08/08/23      Page 21 of 41




                 •   The FindNext2 Heuristic was applied to the hand curated dataset that
                     Chainalysis provided for How to peel a million. This heuristic failed to
                     validate the Mt. Gox trace to Bitcoin Fog that the Government attributes
                     to Mr. Sterlingov.
                 •   As Ms. Bisbee testified at the Daubert Hearings, Chainalysis has not
                     conducted any statistical analysis of their false positive or error rates.


            Evaluation of the Application of Heuristic 2 to Chainalysis’ Model
                     Chainalysis is vague with regards to Heuristic 2. The three heuristics identified by Ms.
                     Bisbee in her expert report are not static. Many different assumptions can be applied
                     under the category of Heuristic 2. Which subcategories of assumptions that are applied
                     impact the accuracy of Heuristic 2.
                     Chainalysis has not revealed which sub-categories of Heuristic 2 they apply in their
                     model in relation to Mr. Sterlingov. An external model validation, which Chainalysis has
                     not done, could confirm the accuracy of the results. In my expert opinion the application
                     of Heuristic 2 by Chainalysis is reckless.
                     Ciphertrace identified 527,731 addresses that did not cluster via Chainalysis Heuristic 1.
                     Ciphertrace also uses Heuristic 1 multi-input clustering as the primary heuristic for non-
                     direct attribution. Ciphertrace does not utilize Heuristic 2 as described by Chainalysis
                     because it is often unreliable and not a true representation of the flow of funds on
                     chain. The high prevalence of errors in Heuristic 2 are described by Ms. Meiklejohn to be
                     between 12.7% and 64%. It is surprising that, knowing this, Chainalysis chose to apply
                     the over inclusive Heuristic 2, despite its claims that it takes a conservative approach.
                     Chainalysis and Ciphertrace have a shared 397,255 addresses clustered via multi-input
                     clustering (Heuristic 1). The 527,731 outstanding addresses were clustered under
                     Chainalysis’ undefined Heuristic 2 model. We have calculated a discrepancy rate of
                     roughly 64% which is due to Chainalysis’ use of the over inclusive Heuristic 2. The over-
                     inclusivity of Heuristic 2 leads to dramatically high rates of false positives and implicates
                     innocent cryptocurrency users.
                     In this case, the over inclusivity of Chainalysis’ flawed heuristics leads to false positives.
                     Chainalysis’ over inclusive clustering methods leave it to be determined whether they
                     have attributed addresses to Bitcoin Fog that never had anything to do with Bitcoin Fog.
                     Without significant time to go through each of the 527,731 addresses by hand, we
                     cannot account for the extremely large discrepancy except to point to the research and
                     note that the difference lies in the application and error rates of Heuristic 2.


            Summary of Literature on False Discovery Rates
                     The Government’s Supplemental Notice of Intent to Present Expert Testimony states:

                             Additionally, attached as Exhibit 2 is a research paper authored by
                             several notable blockchain academics, including Sarah
                                                               20
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM                 Document 159-1            Filed 08/08/23          Page 22 of 41




                              Meiklejohn. See Ex. 2 (George Kappos et al., How to Peel a
                              Million: Validating and Expanding Bitcoin Clusters (2022), at 2,
                              https://arxiv.org/abs/2205.13882). The paper was previously
                              cited in the government’s Opposition to Defendant’s Omnibus
                              Motions in Limine. ECF No. 73, note 4. The paper’s focus is on the
                              proposal of a new peel chain heuristic, but, relevant to the
                              Court’s inquiry, the researchers used information provided by
                              Chainalysis as “ground truth” data, indicating a high confidence
                              among the academic community in the reliability of the
                              information. Ex. 2 at 1-2. The paper’s “Related Work” section
                              includes discussion of and citation to further academic research in
                              blockchain analysis. Id. at 2. (emphasis added).

                     Section 4 of How to peel a million states that the ‘ground truth data’ consisted of 60
                     hand curated clusters:

                              To start, we were given 241 Bitcoin addresses and 20,016 Bitcoin
                              transactions by Chainalysis, a company that provides blockchain
                              data and analysis to businesses and government agencies. The
                              addresses represented true positive clusters, in the sense that
                              Chainalysis had manually verified that all the addresses in the
                              same co-spend cluster as this address really did belong to the
                              same service (typically by confirming directly with the service).
                              The transactions were all CoinJoins and thus represented false
                              positive clusters, meaning all of the addresses in the resulting co-
                              spend cluster would not actually belong to the same service. Each
                              address formed a distinct cluster, and there was no overlap
                              between the addresses in the true positive (TP) clusters and the
                              ones used as inputs in the false positive (FP) transactions. This
                              ground-truth dataset was necessary for evaluating our heuristics,
                              and would not have been possible to get at this scale without
                              working with Chainalysis or directly with the services themselves.
                              None of the clusters represented individual users, and we had no
                              additional information about the entities represented by the
                              clusters (e.g., the name of the service).30

                     These hand curated data points were selected specifically to eliminate the possibility of
                     false positives. The fact that hand curated data was used rather than raw data speaks to
                     the fact that raw data is not reliable enough to validate heuristics.




                     30
                       S. Meiklejohn et al., How to Peel a Million: Validating and Expanding Bitcoin Clusters, Sec. 4, p. 3 (May
                     2022).

                                                                     21
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1      Filed 08/08/23      Page 23 of 41




                     Section 7.3.1 of How to peel a million attempts to find a link between a withdrawal from
                     Mt Gox and a deposit to BitcoinFog. Both forward tracing heuristics, FINDNEXT and
                     FINDNEXT2, failed after the first transaction hop. They were able to produce a trace using
                     a backward tracing heuristic, but they say this heuristic produces more errors.

                     The academic cited in How to peel a million lists a wide-range of error rates for various
                     heuristics ranging from 12.7% to 64.19%. Notably, the heuristics with the highest
                     claimed accuracy rate, FINDNEXT and FINDNEXT2, were the heuristics that failed to find a
                     link between the Mt. Gox transactions and Bitcoin Fog.

                 -   Androulaki et al. [2] identify the change output in a transaction tx if (1) the transaction
                     has exactly two outputs, and (2) it has the only fresh address in tx.outputs, meaning
                     output.addr is the only one appearing for the first time in the blockchain.
                        o This method produced a 64.19% False Discovery Rate using the hand curated set
                        o [2] E. Androulaki, G. O. Karame, M. Roeschlin, T. Scherer, and S. Capkun.
                            Evaluating user privacy in Bitcoin. In International Conference on Financial
                            Cryptography and Data Security, volume 7859 LNCS, pages 34–51, 2013.

                 -   Meiklejohn et al. [31] identify the change output in a transaction tx if (1) it has the only
                     fresh address in tx.outputs; (2) tx is not a coin generation; and (3) there is no selfchange
                     address in tx.outputs, meaning no address used as both an input and an output.
                         o This method produced a 51.64% FDR
                         o [31] S. Meiklejohn, M. Pomarole, G. Jordan, K. Levchenko, D. McCoy, G. M.
                            Voelker, and S. Savage. A fistful of bitcoins: Characterizing payments among men
                            with no names. In Proceedings of the Internet Measurement Conference - IMC
                            ’13, number 6, pages 127–140, 2013.

                 -   Goldfeder et al. [14] use the same conditions as the one by Meiklejohn et al. but
                     additionally require that (4) the transaction tx is not a CoinJoin.
                        o This method produced a 48.7% FDR
                        o [14] S. Goldfeder, H. Kalodner, D. Reisman, and A. Narayanan. When the cookie
                            meets the blockchain: Privacy risks of web payments via cryptocurrencies. arXiv
                            preprint arXiv:1708.04748, 2017.

                 -   Ermilov et al. [10] were the first to consider not only the behavior of the outputs and
                     their addresses but also the value they received. They identify the change output in a
                     transaction tx if (1) the transaction has exactly two outputs; (2) the transaction does not
                     have two inputs; (3) there is no self-change address; (4) the output has the only fresh
                     address in tx.outputs; and (5) the output’s value is significant to at least the fourth
                     decimal place
                         o This method produced a 12.7% FDR
                         o [10] D. Ermilov, M. Panov, and Y. Yanovich. Automatic Bitcoin address clustering.
                             In Proceedings of the 16th IEEE International Conference on Machine Learning
                             and Applications (ICMLA 2017), pages 461–466, 2018.

                                                              22
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1      Filed 08/08/23     Page 24 of 41




                     The two new heuristics cited in How to peel a million, that failed to find a link between
                     the Mt. Gox and Bitcoin Fog have alleged FDR rates as follows:

                             -   FINDNEXT  - 0.62% FDR
                             -   FINDNEXT2 - 0.02% FDR


                     This new heuristic is purportedly accurate because it is more discriminating.


            Difference Between a Wallet and a Cluster
                     A wallet “contains” all the addresses derived from a private key. This includes addresses
                     on multiple chains if they are from the same private key. It is specific to only one private
                     key. It is only possible to know the addresses in the wallet if the key to the wallet is
                     possessed. A cluster is all the addresses which are related to each other via co-spending.
                     A cluster can include addresses from multiple wallets if the wallets have been used to
                     construct a “CoinJoin” transaction. CoinJoin is used here to denote any transaction
                     involving multiple private keys (wallets) regardless of who controls them. Wallet
                     addresses that have not co-spent are not in the same cluster.

                     This effects Heuristic 1 (multi-input clustering) because: in an explorer there may be
                     multiple clusters associated with a wallet, especially in wallets that are managed to
                     minimize co-spending; in a public block explorer there may be multiple wallets in a
                     cluster. The multi-input clustering heuristic assumes that the keys to the inputs of a
                     transaction are controlled by the same party. This allows for multiple keys being used.
                     This also assumes the logistical difficulty, but not impossibility, of multiple parties
                     coordinating to sign a given transaction.

                     This impacts Heuristic 2 because: the major issue with Meiklejohn’s research is this
                     heuristic can have a False Positive Rate between 12.7% and 64.19% depending on the
                     methodology used. This was measured by running the various heuristics on a hand
                     curated data set; these errors would then be compounded by successive runs of
                     Heuristic 1 and 2 on the new clusters interactions.


            Best Practices in Address Attribution & Data Integrity: Collection,
            Storage and Access
                     The Best Practices in Cryptocurrency Address Attribution are meant to serve as a guide
                     and are non-exhaustive. They generally follow the data integrity definition and roadmap
                     outlined by Harvard Business School (HBS). HBS defines data integrity as “the accuracy,




                                                              23
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM                Document 159-1            Filed 08/08/23         Page 25 of 41




                     completeness, and quality of data as it’s maintained over time and across formats.
                     Preserving the integrity of your company’s data is a constant process.” 31


            Evaluation of Chainalysis Expert Reports
                     There are number of errors, omissions, and inconsistencies in Ms. Bisbee’s Chainalysis
                     Report. A non-exhaustive list of the errors follows:
                     Page 8, Table 232
                 •   This table is missing a number of Bitcoin script types such as: P2PK (different than
                     P2PKH), P2MS, P2WSH, or P2TR.
                 •   The table states that P2SH is “a SegWit address that begins with 3”. That is false. Once
                     SegWit became active on August 23rd, 2017, it could utilize SegWit to create a nested
                     P2WSH address that is nested in a BIP-16 enabled P2SH address format. However, prior
                     to August 23rd, 2017, all Bitcoin addresses that have the prefix of “3” are pure BIP-16
                     P2SH addresses, not SegWit.
                 •   The table uses the wrong unit of data when referring to compressed and uncompressed
                     keys. The table uses bits instead of bytes. This is a critical error. A bit is the smallest unit
                     of data that a computer can process and store. Public Key Cryptography, or asymmetric
                     cryptography, utilize the use of private and public key pairs. For Bitcoin, we use ECDSA
                     (Elliptic Curve Digital Signature Algorithm) - with this we generate a 256-bit number for
                     a Private Key. 256 bits is equivalent to 32 bytes. Thus, through ECDSA, an uncompressed
                     public key is 65 bytes and a compressed public key is 33 bytes. Because of this, the
                     mathematics in footnotes 6 and 7 are incorrect.
                     Page 12, Section 1.2
                 •   It does not make sense that Bitcoin Fog used uncompressed keys until 2012 when the
                     report then states “the P2PKH Compressed addresses changed to using SegWit
                     addresses”. How can the same addresses be switched from uncompressed to
                     compressed and still output the same human-readable address hash?
                 •   The report states that “The first known Bitcoin Fog transaction where the change is a
                     P2SH-WPKH Segwit address in block 534129:
                     9a7e1cdb9f68573eaf64ba4f8908ebf05aee932124 6188c1c746a297e8821ffb”.
                     Reviewing this transaction, reveals there is no witness data and no addresses
                     participating in this transaction that are SegWit enabled. The following two open source
                     explorers confirm this:




                     31
                        What is Data Integrity and Why Does it Matter, HARVARD BUSINESS SCHOOL, Catherine Cote at 1 (Feb. 4,
                     2021) (available at: https://online.hbs.edu/blog/post/what-is-data-integrity).
                     32
                        The Nov. and Dec. Expert Reports by Ms. Bisbee are substantially the same.

                                                                    24
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1          Filed 08/08/23   Page 26 of 41




                                                             mempool.space




                                                                bitaps



                                                                  25
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM                Document 159-1              Filed 08/08/23   Page 27 of 41




            Page 13, Section 1.2
                 •   What is RF? If RF means RBF, (Replace-by-Fee), then it is important to note that a
                     majority of transactions in the report would never have been able to utilize RBF as it was
                     not present in Bitcoin Core until Bitcoin Core v0.12 which was released November 1st,
                     2016.33
            Page 15, Section 2.1
                 •   There are no screenshots to support the identified deposit addresses from
                     pwoah7foa6au2pul[.]onion.
            Page 16, Section 2.2
                 •   The report states that the address identified as a co-spend participant,
                     1NGpmfXeFmKB4csqeUhSqCNXBJtCWua8fr, had “activity from August 2015 and
                     September 2015”. When looking at the address, it was not active during this time-
                     period. It only had two transactions, one on April 29th, 2015, and the other on May 4th,
                     2015.
            Page 17, Section 3.1
                 •   There are no screenshots to support the identified deposit addresses from
                     k5zq47j6wd3wdvjq[.]onion.
            Page 19, Section 4.1
                 •   There are no screenshots to support the identified deposit addresses from
                     agorahooawayyfoe[.]onion.
            Page 20, Section 5.1
                 •   There are no screenshots to support the identified deposit addresses from
                     dkf2lnsctjvoivow[.]onion and o7v3h5ts5tah4yiw[.]onion.
            Page 21, Section 6.1
                 •   There are no screenshots to support the identified deposit addresses from
                     abraxasdegupusel[.]onion.
            Page 23, Section 7.1
                 •   There are no screenshots to support the identified deposit addresses from
                     pandorajodqp5zrr[.]onion.
            Page 24, Section 8.1
                 •   There are no screenshots to support the identified deposit addresses from
                     sheep5u64fi457aw[.]onion.



                     33
                       Bitcoin Core v0.12.0, sipa, (Nov. 1, 2016) (available at:
                     https://github.com/bitcoin/bitcoin/releases/tag/v0.12.0).

                                                                     26
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                   Case 1:21-cr-00399-RDM                              Document 159-1                        Filed 08/08/23                 Page 28 of 41




            Page 26, Section 9.1
                  •     There are no screenshots to support the identified deposit addresses from
                        wztyb7vlfcw6l4xd[.]onion.


            Evaluation of Chainalysis Bitcoin Fog Attribution
                        This evaluation uses Chainalysis provided data in the CSV file produced by the
                        Government titled: “bitcoin_fog_market_addrs_cospend”.

            Summary of Chainalysis bitcoin_fog_market_addrs_cospen d.csv Data
                Ciphertrace identified 527,731 addresses that did not cluster via Chainalysis Heuristic 1.
                Ciphertrace also uses Heuristic 1 Multi-input Clustering as the primary heuristic for non-
                direct attribution. Ciphertrace does not utilize Heuristic 2 as described by Chainalysis, as
                it is often unreliable and not a true representation of the flow of funds on chain. The
                high prevalence of errors in Heuristic 2 are described to be between 12.7% and 64%.
                Therefore, the discrepancy rate between Ciphertrace and Chainalysis Bitcoin Fog
                attribution is roughly 67%.
                        Without significant time to go through each of the 527,731 addresses by hand, we
                        cannot account for the extremely large discrepancy except to point to the research
                        documenting error rates and note the difference lies in the use of Heuristic 2.
                        The data provided in the csv is formatted as follows:
             address    asset      aid        entity      bid        bid_last_change    name          category   co_spend_flag     co_spend_root_address
             111233LRj5aYTCQhMqHKjDuGCyxSbFRyMq
                                 0 74780392       2479113     355136             355136 Bitcoin Fog   mixing                     1 UNCLUSTERED IN CO-SPEND
             11126bGUStNaxeti1R2GWLJ8TXhBM2fqR6
                                 0 141613993      2479113     407872             407872 Bitcoin Fog   mixing                     1 UNCLUSTERED IN CO-SPEND
             11128U2TcDwu9QbJDiH9vPXd5L9Tq5q2NE
                                 0 35885413       2479113     300708             300708 Bitcoin Fog   mixing                     0 UNCLUSTERED IN CO-SPEND
             11129bx2XkU6cNyTxpEZQxGJdySArgZnrm
                                 0 61774570       2479113     340098             340098 Bitcoin Fog   mixing                     1 17aBK3VYVyvvWsSEc4rGaYJ6b3qriB845a




                        There is one row for each address attributed to BitcoinFog. The addresses are
                        categorized according to their co_spend_root_address, the address they are clustered
                        with. The following Summary of co_spend_root_address comparing Chainalysis’
                        attribution data with Ciphertrace’s.


                                                                     Chainalysis                                                                                    Ciphertra
                                                                     Address                      Ciphertrace                                                       ce Cluster
           co_spend_root_address                                     Count                                 WalletId              Owner            Type              Size
           UNCLUSTERED IN CO-SPEND                                          527731
           17aBK3VYVyvvWsSEc4rGaYJ6b3qriB845a                               244975                003739a5                       BitcoinFog       mixer                 244975
           15CLUub6yaov3yMZtmxPQ4pSeR22PuDSL
           T                                                                 46532                0323355a                       BitcoinFog       mixer                 46532
           1Mzz2hhbrCr26HX6wDgSBRheu8qphDoR9
           b                                                                 31994                046d1ba1                       BitcoinFog       mixer                 31994




                                                                                          27
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1               Filed 08/08/23    Page 29 of 41



           1EXTHjVRMao2AQsMTRJE5aTAGoYMmxc3
           Ji                                            22043           0538451e           BitcoinFog   mixer      22043
           1DxmvN5tEEPz6HiTfTb634ndMfhRkKnaom            50569           060e8473           BitcoinFog   mixer      50569
           16FgQXGzSLRtdwuwCN7mcaPUtbJ6JFTkV
           w                                                 1140        01b92444           BitcoinFog   mixer       1140
           17gH1u6VJwhVD9cWR59jfeinLMzag2GZ43                726         0274e40d           Unknown      Unknown      726
           1P5pMkN1wr3ozHXwCXtRmv6kJBYLyPPMz
           c                                                   4         01918b80           Unknown      Unknown        4
           1Cwb33nqn4S2uDsXwhNrUNy7FPdiRYhyM
           8                                                  16         016a834c           Unknown      Unknown       16
           15U5NjgAbKqKyGKwayS648WwJoiCCvGnT
           G                                                   2         1257968            Unknown      Unknown        2
           1JmQN8NvX3XXWWrJW3rEEcKQMQd5DU
           gkH3                                                6         0099a1fc           Unknown      Unknown        6
           1F9kYDpu2CqwR18ovineZr8Y88NQfW1bzR                  2         0042232e           Unknown      Unknown        2
           1YZJKaAx2HRWvcbCXDBtQbBZcRU46WJq
           w                                                   2         351640             BitcoinFog   mixer          2
                                                                                                         Total      398011



                     There are 398,011 addresses which are clustered together, and another 527,731
                     addresses attributed by other heuristics. Cluster 003739a5 is the customer deposit
                     cluster. This is corroborated by the Chainalysis, FBI, and IRS deposits. Cluster 060e8473 is
                     the withdrawal hot wallet cluster corroborated by the Chainalysis, FBI, and IRS
                     withdrawals.




                                                                    28
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1     Filed 08/08/23   Page 30 of 41




                                             Consolidation to New Style Hot Wallet




                                                              29
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1    Filed 08/08/23   Page 31 of 41




            Ciphertrace Sentry API Pulls from Clusters
                  Cluster 0323355a
                     Example                                                            TX
                     69AD7BAEE97CD809D71A1EA4D72758A0CF5C2D3C56B22D5B078CF1AE888E3F01, Feb
                     7, 2015.
                                                             Inputs
                                      "pos": 0,

                                              "address": "157zj77TD8CT62wPTp7YBEVWtMXNB3iDg6",

                                              "value": 0.172



                                              "pos": 1,

                                              "address": "1Pet1bkEtXJSHZXpcEhiJn4Up8cZt1kydM",

                                              "value": 0.20725958



                                              "pos": 2,

                                              "address": "14zwCx9nXPkiwpUqnEuKnRynP4D2gVpwvD",

                                              "value": 0.07785078



                                              "pos": 3,

                                              "address": "1AyRHdPouNcrEGGECuWKWExdRGP6u74p2q",

                                              "value": 0.8999



                                              "pos": 4,

                                              "address": "19C4vVRq9r1igEZjfGvcYkX1ohoFKKZhDf",

                                              "value": 0.3496



                                              "pos": 5,

                                              "address": "1FWHVxL73sX9SmbJpU9U7Vhfb9FfT2RHJ3",

                                              "value": 0.07575247

                                                             Outputs
                                      "pos": 0,

                                              "address": "17ehuXt67dMDvQFV7Mfg9735B3yisXSHzQ",

                                              "value": 0.18741046




                                                                30
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1    Filed 08/08/23   Page 32 of 41




                                              "pos": 1,

                                              "address": "1A2VpWmdGW2aR8bFVkPW3v82Pe63bys7G7",

                                              "value": 0.03314727



                                              "pos": 2,

                                              "address": "1DnhH18t8A1Km5z6nGLjQLVrzPGS2kAcG",

                                              "value": 0.21808353



                                              "pos": 3,

                                              "address": "1PtoUTyaVZvqXT2wjSuj73e81VNsnZk2p2",

                                              "value": 0.20053006



                                              "pos": 4,

                                              "address": "1LNBfzZgAbsHqbnQrMZnRjiwe53VUFh3K4",

                                              "value": 0.17846811



                                              "pos": 5,

                                              "address": "17ahuMui9cTRNHpyZFTgtUpzr2TJ3sjtQr",

                                              "value": 0.18208911



                                              "pos": 6,

                                              "address": "1F6kGH6BRGe9iSNcUJp6egEU9DYFzYcQxi",

                                              "value": 0.16379711



                                              "pos": 7,

                                              "address": "18bULF4dmniBdS4SUkkKB14qooLdoBCBdj",

                                              "value": 0.21211967



                                              "pos": 8,

                                              "address": "1HDo364e5PnMbC4Wb6XADkGKrgSTheV4dG",

                                              "value": 0.20836623



                                              "pos": 9,


                                                             31
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1    Filed 08/08/23      Page 33 of 41




                                              "address": "15CLUub6yaov3yMZtmxPQ4pSeR22PuDSLT",

                                              "value": 0.19815128



                     All the inputs and output position (pos) 1 are from cluster 003739a5, the deposit cluster.
                     The remaining outputs belong to Cluster 0323355a. A graphical trace is below:




                                                             32
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1   Filed 08/08/23   Page 34 of 41




                                                             33
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1      Filed 08/08/23      Page 35 of 41




            Comparison of Ciphertrace and Chainalysis Dark Market Attributions
                     The following lists the discrepancy rates between Ciphertrace and Chainalysis’s dark
                     market attributions.
                     Abraxas - 20%
                     Agora – 3.5%
                     AlphaBay – 96%
                     Bitcoin Fog – 67%
                     BlackBank – 16%
                     Nucleus – 44%
                     Pandora – 21%
                     Sheep – 0%
                     SilkRoad – 43%
                     SilkRoad2.0 – 0%
                     WelcomeToVideo – 1%


                     Ciphertrace attributes these discrepancies to Heuristic 2, and other unnamed heuristics
                     utilized by Chainalysis, which were not explicitly stated in their expert reports.
                     Chainalysis has not produced the sources, dates and times of collections, clustering
                     errors and error rates on a per address basis but have not received this information.


            Evaluation of the Scholl Report
                     There are numerous errors, omissions, and inaccuracies in the Scholl Report.
                     Page 10
                     Dates are incorrect. The 2014 date should be 2019.
                     Page 34
                     When stating “Blockchain analysis of the transactions included in the file indicated that
                     the MYCELIUM WALLET received a deposit of approximately 29 BTC valued at $280,544
                     on 6/17/2020. This deposit came directly from the BITCOIN FOG CLUSTER and was the
                     source of funds of all 69 subsequent withdrawals from the MYCELIUM WALLET.”.
                     This is a conclusory statement with no verifying data. There is no list of transactions that
                     total 29 BTC. In order to verify this, the master extended public key or the seed phrase
                     are required. Neither of which the Government has provided to the Defense.
                     Page 45
                     There is no data presented justifying the conclusion that address
                     1LZvkK1QMCCPUoRRsJb7mxqX2tcLUqGuYX is Bitcoin Fog. The conclusory attribution
                     lacks support.




                                                              34
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1          Filed 08/08/23   Page 36 of 41




                     Page 46
                     There are multiple errors on this page.
                     The address 12MDVJ4mKK3SqXn3TekpbcU4cfw5hUmHh5 never sends funds to the
                     address identified on this page. Also, the date is incorrect. Furthermore, the user ID is
                     incorrect according to internal Silk Road records provided in the Government’s
                     discovery. In the previous transaction, from Mr. Sterlingov’s Mt. Gox account to address
                     1Pfkqm3YsCYnWeA7h14Zmm1j8kiFruFvqA, there is no co-spend, as identified in the
                     Scholl Report. The 1Pfk has no additional input with the 7.9 BTC prior balance as
                     mentioned in the Scholl report. This address only receives funds one time, from Mt. Gox
                     and sends funds one time. The owner of this address is unknown.
                     Silk Road deposit address 12MDVJ4mKK3SqXn3TekpbcU4cfw5hUmHh5 received funds
                     one time, in a co-spend, whose source is the exchange VirWox.com. No such exchange
                     has been identified or discussed in any of the Government’s reports.
                     Below is tracing demonstrating the complete history for cryptocurrency address
                     12MDVJ4mKK3SqXn3TekpbcU4cfw5hUmHh5. This contradicts Mr. Scholl’s report.




                                                             Ciphertrace Inspector


                                                                  35
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1     Filed 08/08/23   Page 37 of 41




                                                             mempool.space


                     The Scholl Report claims that on 10/27/2011 60.8 BTC transaction occurred. No such
                     transaction occurred on this date. There is a transaction on 11/27/2011 that sends 60.8
                     BTC to 1C7kWtPjfCgUH4Ye5GdAqdQVutx2NrvWi but it is not from
                     12MDVJ4mKK3SqXn3TekpbcU4cfw5hUmHh5. The 60.8 BTC comes from
                     14gbjpkD2r5pDquk3DmMs6vYpveJrB1Kkp. 14gbjpkD2r5pDquk3DmMs6vYpveJrB1Kkp
                     according to the Scholl Report is part of Silk Road. However it is not the actual
                     “spender” of funds nor is there a UTXO that displays what Mr. Scholl’s graph shows.
                     Thus, it is incorrect statement of the flow of funds from a blockchain forensics
                     perspective.




                                                               36
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1    Filed 08/08/23     Page 38 of 41




                     Page 49
                     Mr. Scholl incorrectly concludes that Mr. Sterlingov deposited funds into Bitcoin Fog on
                     Bitcoin Fog’s first day of public operation. Between Mr. Sterlingov’s Mt. Gox account
                     withdrawal and his alleged deposit into Bitcoin Fog, there are 19 unattributed, unknown
                     cryptocurrency addresses. The image below documents this fact:




                     Crucially, none of these 19 intermediary addresses are in Mr. Sterlingov’s Mycelium
                     wallet, or any other wallet identified by the Government as being under his control. The
                     conclusion that Mr. Sterlingov deposited funds into Bitcoin Fog on its first day of
                     operation is illogical, speculative, and incorrect.



                                                             37
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1     Filed 08/08/23     Page 39 of 41




                     What appears to have happened is because there are deposits in the same timeframe
                     whose ownership it is impossible to determine, the Government seems to have latched
                     on to Mr. Sterlingov because his account was the only one that could be traced back to a
                     KYC account – his Mt. Gox account. The other deposits to Bitcoin Fog at this time come
                     from an Instawallet/Paymium address (which kept no records), a mining transaction,
                     and BitcoinTalk.
                     There is no evidence that Mr. Sterlingov controlled any of the 19 intermediary addresses
                     between Bitcoin Fog and his Mt. Gox account. Any attribution of Mr. Sterlingov
                     controlling these 19 intermediary addresses is pure speculation for which there is no
                     corroborating evidence.
                     Page 54
                     Mr. Scholl makes the following observation on the bottom of page 54 of his expert
                     report:
                             Tx10 appeared to spend funds from multiple sources and
                             consolidate them at 1YZJKa. According to the Bitcoin blockchain,
                             1YZJKa address was involved in 66 total Bitcoin transactions,
                             including 33 deposits and 33 withdrawals. These 33 deposits
                             totaled approximately 30,458 BTC and occurred from on or about
                             11/10/2011 to on or about 3/25/2012. Multiple individual deposit
                             transactions made into 1YZJKa included over 50 input addresses.
                             Based on my training an experience, 1YZJKa was not consistent
                             with a typical user deposit address at a service. 1YZJKa appeared
                             to be an internal address at BITCOIN FOG used to consolidate
                             multiple deposits made by multiple users.
                     Page 55
                             According to Chainalysis Reactor, 31 of the 33 deposits to 1YZJKa
                             (including the two examples above) came from Bitcoin addresses
                             within the BITCOIN FOG CLUSTER. Only the first two deposits,
                             including Tx10 and one other deposit12, were from addresses not
                             attributed by Chainalysis to the BITCOIN FOG CLUSTER.
                             Bitcoin address 1YZJKa was very likely an internal consolidation
                             address at BITCOIN FOG and not a user deposit address.
                             Therefore, Tx10 was very likely an internal transaction at BITCOIN
                             FOG and addresses in WALLET 2 were part of BITCOIN FOG.
                             Without the internal ledgers to Bitcoin Fog, this conjecture cannot
                             be verified. Ciphertrace compiled the following chart showing all
                             received transactions for the likely internal consolidation address
                             for Bitcoin Fog: 1YZJKaAx2HRWvcbCXDBtQbBZcRU46WJqw.




                                                             38
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1     Filed 08/08/23      Page 40 of 41




            What is Needed to Determine Control of Bitcoin Fog
                         •   Bitcoin Fog Server access – the Government does not have the Bitcoin Fog
                             servers.
                         •   Private keys to all wallets – the Government has not provided ANY private keys
                             to the Defense.
                         •   Evidence as to what parties had control of the private keys to Bitcoin Fog and/or
                             had access to the servers. – the Government has produced no evidence at all
                             regarding these two crucial factors.


            Other Domain Name Registrations of Bitcoin Fog
                     Since Mr. Sterlingov has been in jail awaiting trial, someone registered the Bitcoin Fog
                     mixing service on an Ethereum-based DNS domain.
                     Ethereum Name Service (ENS) registered bitcoinfog.eth on Address
                     0xE7f1f0657128e1eD321B0A849F12457AC5eF608F on the Ethereum Network as an
                     ERC-721 on March 31, 2023 and is due to expire on March 30, 2024 Ref:
                     https://app.ens.domains/bitcoinfog.eth?tab=more
                     https://etherscan.io/tx/0xeabf670000064081aa5efe9affe72897941033c5594f96f1966b
                     00874954f28e
                     It is possible that this domain was registered prior to the ENS implementation of token
                     standard ERC-721. ENS names are non-fungible tokens (NFTs).


            Notes on Publicly Available Tools
                     Chainalysis Reactor is a proprietary, black-box, forensic surveillance software that is not
                     publicly available. It is very expensive to purchase a license. It should not be confused
                     with publicly available explorers, which are free, and often open source.


            Conclusion
                     Blockchain forensics should only be used to generate investigatory leads. Standing
                     alone, they are insufficient as a primary source of evidence. What is striking about this
                     case is the conclusions reached without any corroborating evidence for the blockchain
                     forensics.
                     The blockchain forensics and tracing tools used in this case were misused to erroneously
                     conclude that Mr. Sterlingov was the operator of Bitcoin Fog when no such evidence
                     exists on-chain.
                     The failures in the blockchain analysis in this case highlight some of the structural
                     problems with this space. To prevent wrongful arrests like this one, and failures in
                     compliance, like with FTX, it is recommended that Chainalysis, and their methodologies
                     of blockchain analysis be independently audited.


                                                              39
DocuSign Envelope ID: F384BDD8-302C-4974-8060-D93123E20CFE
                 Case 1:21-cr-00399-RDM              Document 159-1   Filed 08/08/23   Page 41 of 41




            Date: August 7, 2023




            _________________________
            Jonelle Still, Ciphertrace




                                                             40
